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 8                          UNITED STATES DISTRICT COURT
 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                               SOUTHERN DIVISION
11
     PANAVISE PRODUCTS, INC., a                 )   Case No.: SACV12-00402 CJC (ANx)
                                                )   Assigned to Honorable Cormac J.
12
     Nevada corporation,                        )   Carney
                                                )
13
                    Plaintiff,                  )   Filed: March 14, 2012
                                                )
14
     vs.                                        )   STIPULATED JUDGMENT AND
                                                )   PERMANENT INJUNCTION
15
     S&F CORPORATION, a Minnesota               )
                                                )
16
     corporation,                               )
                                                )
17
                    Defendant.                  )
                                                )
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19
           Upon reviewing the Stipulation Re: Entry of Judgment and for Permanent
20
     Injunction (“Stipulation for Judgment”) filed herein, the Court approves of said
21
     Stipulation for Judgment, and therefore:
22
           JUDGMENT IN THIS MATTER IS ENTERED AS FOLLOWS:
23
           A.       Defendant, S&F CORPORATION, a Minnesota corporation
24
     (“Defendant”), and its agents, employees, and shareholders, and those persons in
25
     active concert or participation with any of them, are permanently enjoined upon
26
     entry of this Stipulated Judgment and Permanent Injunction from:
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     ///
28
     ///


           STIPULATED JUDGMENT & PERMANENT INJUNCTION - 1
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 1
                   (1)     Reproducing, copying, counterfeiting, colorably imitating or
 2
     otherwise using Plaintiff’s trade dress and patents, including without limitation
 3
     United States Patent No. D521850 (the “‘850 Patent”);
 4
                   (2)     Offering for distribution, distributing, offering for sale, or
 5
     selling any suction cup mounts whose design, appearance or trade dress so
 6
     resembles the distinctive design, appearance, or trade dress of Plaintiff’s suction
 7
     cup mounts as to likely cause confusion, mistake, or deception;
 8
                   (3)     Offering for distribution, distributing, offering for sale, selling,
 9
     advertising, publicizing or promoting any suction cup mounts whose design,
10
     appearance or trade dress so resembles the distinctive design protected by the ‘850
11
     Patent as to likely cause confusion, mistake, or deception;
12
                   (4)     Using in connection with Defendants’ products any false or
13
     deceptive designation, representation or description of Defendants’ or their
14
     products, whether by words, symbols, product design or appearance, or trade dress,
15
     which would damage Plaintiff;
16
                   (5)     Using any false designation of origin, false advertising, false
17   impression or false representation that tends to pass off Defendants’ products as
18   those of Plaintiff in a way that is likely to cause confusion, or likely to deceive as
19   to the affiliation;
20                 (6)     Engaging in any acts of state or common law infringement or
21   unfair competition which injure or would tend to injure Plaintiff;
22                 (7)     Engaging in any unlawful acts causing injury to the business
23   reputation of Plaintiff or dilution of the distinctive quality of Plaintiff’s product
24   design and appearance or trade dress;
25                 (8)     Trading upon or appropriating the goodwill and business
26   reputation of Plaintiff;
27                 (9)     Inducing, encouraging, aiding, abetting or contributing to any
28   of the aforementioned acts;


            STIPULATED JUDGMENT & PERMANENT INJUNCTION - 2
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 1
                  (10) Advertising, displaying at trade shows, marketing in literature
 2
     or on the internet or other promotion of any suction cup mounts whose design,
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     appearance or trade dress so resembles the distinctive design, appearance, or trade
 4
     dress of Plaintiff’s suction cup mounts, including without limitation the ‘850
 5
     Patent, as to likely cause confusion, mistake, or deception; and
 6
           B.     Compensatory damages, and attorneys’ fees and costs in the sum of
 7
     $2,500 are to be awarded to Plaintiff, PANAVISE PRODUCTS, INC. and against
 8
     Defendant, S&F CORPORATION, a Minnesota corporation, and shall be paid in
 9
     accordance with the terms of the Settlement Agreement.
10
           C.     The Court retains continuing jurisdiction to enforce this Stipulated
11
     Judgment and Permanent Injunction.
12
           D.     The Settlement Agreement remains in full force and effect.
13

14   DATED: June 4, 2012                          ______________________________
15                                                Honorable Cormac J. Carney
                                                  Judge of the U. S. District Court
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           STIPULATED JUDGMENT & PERMANENT INJUNCTION - 3
